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		OSCN Found Document:IN THE MATTER OF THE REINSTATEMENT OF MURRAY

					

				
  



				
					
					
						
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				IN THE MATTER OF THE REINSTATEMENT OF MURRAY2018 OK 62Case Number: SCBD-6613Decided: 07/23/2018THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2018 OK 62, __ P.3d __

				


IN THE MATTER OF THE REINSTATEMENT OF: SUTTON ALEKSANDRA SMITH MURRAY, TO MEMBERSHIP IN THE OKLAHOMA BAR ASSOCIATION AND TO THE ROLL OF ATTORNEYS.




ORDER


¶1 The petitioner, Sutton Aleksandra Smith Murray, was stricken from the roll of attorneys February 16, 2010, after she voluntarily resigned as a member of the Oklahoma Bar Association. The Petitioner seeks reinstatement to the Oklahoma Bar Association by Petition for Reinstatement filed January 3, 2018. The Trial Panel recommended in their report by unanimous vote that reinstatement be granted. Upon consideration of the matter, we find:

1. Petitioner has met all the procedural requirements necessary for reinstatement in the Oklahoma Bar Association as set out in Rule 11 of the Rules Governing Disciplinary Proceedings, 5 O.S. 2011, ch. 1, app. 1-A;
2. Petitioner has established by clear and convincing evidence that she possesses the good moral character which entitles her to be admitted to the Oklahoma Bar Association;
3. Affidavits were presented showing that the Petitioner has not engaged in the unauthorized practice of law in the State of Oklahoma during the period of her resignation;
4. Petitioner possesses the competency and learning in the law required for admission to practice law in the State of Oklahoma.

¶2 IT IS THEREFORE ORDERED that the Petition for Reinstatement be granted.

¶3 IT IS FURTHER ORDERED that Petitioner shall pay the costs associated with this proceeding in the amount of $272.78.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 23rd DAY OF JULY, 2018.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR







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